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                              EXHIBIT 2
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    REBUTTAL EXPERT REPORT OF HAL PORET IN MATTER OF
              MONSTER ENERGY COMPANY V.
            INTEGRATED SUPPLY NETWORK, LLC

                      *******************************

     RESPONSE TO EXPERT REPORT OF DR. BRUCE ISAACSON




                                                          REPORT PREPARED FOR:
                                                        Standley Law Group LLP

                                                                   PREPARED BY:
                                                                        Hal Poret
                                                        President, Hal Poret LLC
                                                                 142 Hunter Ave
                                                        Sleepy Hollow, NY 10591


                                                                     March 2018




                                                                            EX2-1
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   BACKGROUND AND PURPOSE

   Plaintiff in the above-referenced lawsuit (Monster Energy) alleges that the use by
   Integrated Supply Network (“ISN”) of the name MONSTER and black and green
   colors in connection with ISN’s Monster Mobile line of tool products creates a
   likelihood of confusion with respect to Monster Energy and its marks. In
   connection with the lawsuit, Monster Energy has submitted the Expert Report of
   Dr. Bruce Isaacson concerning a survey that Dr. Isaacson conducted to
   purportedly assess likelihood of confusion between ISN products bearing the
   name MONSTER with black and green colors and Monster Energy. Based on his
   survey, Dr. Isaacson opines that there is a likelihood of confusion.


   Standley Law Group LLP, counsel for ISN, retained me to review and provide
   my opinions regarding the Isaacson Report and Survey. In the course of
   preparing this Rebuttal Report, I reviewed the following materials:


             Isaacson Report and Appendices
             Complaint
             Answer, Affirmative Defenses and Counterclaims
             Opposer’s Responses to Revised Second Set of ROGS (Nos. 6-57)
             MEC’s Responses to ISN’s First set of Interrogatories (1-10)
             MEC’s Responses to 2nd Set of Interrogatories (11-15)
             Supplemental Responses to ISN’s First Set of Interrogatories
             MEC’s Responses to Third Set of Interrogatories (16-18)
             Applicant’s Answers to Opposer’s Second Set of Interrogatories
             Applicant’s Supplemental Answers to First Set of Interrogatories
             Supplemental Response to ISN’s Second Set of Interrogatories
             Response to ISN’s Fourth Set of Interrogatories
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            ISN Tool Expo materials (ISN0024016, 24216)
            Tech’s Edge Price Lists (ISN0026766, 26806, 26846, 26886, 26926, 26966,
             27006)
            Images of ISN products (ISN0034697-34705 and ISN0038179-38210
            Monster Mobile webpages: Monster Mobile Facebook page and
             Monster Mobile blogspot website
            Catalogs: Tool Book 2018, Tech’s Edge December New Products 2017,
             July/August 2017 Tech’s Edge Plus-Priced Catalog, July/August 2017
             Tech’s Edge Plus-NonPriced Catalog, Monster Catalog Summer 2017,
             K Tool 2016 Catalog, Toolbook 2017 Catalog, Monster Catalog Spring
             2016, Monster Catalog Spring 2015
            ISN Materials: ISN Brandbook final, ISN Paid Ad Specs 2017, ISN
             Media Planner, ISN Strategic Marketing 360 Final
            Sales Data (ISN0035488)
            Websites cited in Paragraph 27 of the Isaacson Report.
            Pilkenton, Kowalke, Rivera Deposition Transcripts
            ISN and Pilkenton Depositions in TTAB Opposition 91222672
            Parikh Report (MEC022045)
            Report of James Berger


   I also conducted and reviewed the results of online searches for automotive tools,
   mobile tool trucks and other products using the term Monster.


   My work in connection with this matter is being charged at my standard rate of
   $625 per hour and payment is not contingent upon any outcome of the litigation.




                                                                            Page | 2




                                                                                       EX2-3
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   As described in more detail below, it is my opinion that Dr. Isaacson’s survey is
   flawed and unreliable. One severe flaw alone renders the results and Dr.
   Isaacson’s conclusions unreliable, which is that the survey entirely failed to
   simulate realistic marketplace conditions under which individuals at auto service
   or repair shops would encounter and consider purchase of the ISN products. As
   Dr. Isaacson notes, the ISN products are sold to auto service or repair shops
   through mobile tool trucks/distributors. Accordingly, a typical prospective
   customer of ISN products would be exposed to the products through a mobile
   tool distributor from a company such as Snap-On or through an independent
   distributor, and would be presented with a wealth of context that heavily
   emphasizes the automotive tool/equipment focus of the product line being
   offered. A prospective end customer of the ISN products would clearly
   understand that they are dealing with a mobile tool/equipment distributor who
   deals with auto professionals and that the context of the situation is focused on
   automotive tools and equipment. They would likely see a large assortment of
   Monster Mobile tools (including packaging) and may also see an assortment of
   tools from other automotive tool brands. They may also be shown catalogs or
   other materials showing the wide array of automotive tool products from the
   Monster Mobile brand and/or other brands of automotive tools and equipment.
   All of this context would have a strong bearing on whether the prospective
   customer perceives the products to be connected to an energy drink company
   (Monster Energy), as opposed to an unrelated company that produces
   automotive tool products under its own brand (Monster Mobile). The Isaacson
   Survey did nothing to simulate any such context. It merely showed each
   respondent a single image of a single product in the abstract, as if the product
   could be a random promotional item rather than a product that is obviously from
   a brand specializing in tools and equipment designed for automotive technicians.
   The survey did not inform respondents that the product is sold by a mobile tool
                                                                              Page | 3




                                                                                       EX2-4
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   truck distributor, did not provide any other information, materials or imagery
   that could simulate the relevant context of a purchase from an automotive tool
   truck, and in most cases did not even show the packaging and/or the entire
   product. Accordingly, the survey entirely fails to test whether real consumers
   would make a mistaken connection to Monster Energy under realistic
   marketplace conditions – i.e., a context where the prospective purchaser would
   be heavily focused on the topic of automotive tools and would certainly realize
   that the products come from a source with a specialty in tools and equipment for
   automotive technicians and could not possibly think they are looking at a
   random promotional item that has had the name “Monster” placed on it.


   As further described below, the survey also contains additional flaws that further
   undermine its reliability:


          1) Related to the marketplace conditions issue, the three items selected in
             the survey are not representative of many ISN products, both due to
             the nature of the product and the way the name Monster and various
             colors are used on the product. Accordingly, even putting aside the
             flaws in the survey, the results from the specific products tested could
             not be applied to ISN’s products generally, such as the many products
             that are highly specialized automotive industrial equipment and
             products that display the term Monster with different colors and/or
             packaging.
          2) The control failed to fully account for the inherent demand effects of
             the survey, and failed to account for the fact that there are multiple
             third party uses of the brand Monster in various product categories
             (such as third party use of “Monster” for audio products, motorcycles
             and even other automotive and tool products).
                                                                              Page | 4




                                                                                        EX2-5
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          3) The survey improperly mentioned beverages and drinks in the
             screening section of the survey, which could have suggestively
             influenced respondents’ answers regarding the automotive tools tested
             by placing the thought of beverages/drinks in their minds
             immediately before asking about the source or sponsorship of the ISN
             products.
          4) The survey did not collect sufficient information to determine whether
             a representative sample is drawn, most notably failing to determine
             the age of any respondent (other than that they are 18 or over), which
             leaves open the possibility of the sample being severely skewed
             toward Monster Energy’s key demographic.
          5) The sample size for the survey of the beverage tumbler was only 29
             Test Group respondents, which entails a very high error rate.


   These and other flaws are discussed in more detail below.


   If I receive additional materials or data relating to the Isaacson Survey, I reserve
   the right to supplement my opinions.


   AUTHORSHIP AND QUALIFICATIONS

   This report was prepared by Hal L. Poret, President at Hal Poret, LLC. I have
   personally designed, supervised, and implemented over 1,000 surveys regarding
   the perceptions, behaviors, and opinions of consumers, over 300 of which have
   concerned trademarks or trade dress. I have personally designed numerous
   studies that have been admitted as evidence in legal proceedings and I have been
   accepted as an expert in survey research on numerous occasions by U.S. District



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                                                                                          EX2-6
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   Courts, the Trademark Trial and Appeal Board, the FTC, and the National
   Advertising Division of the Council of Better Business Bureaus (NAD).


   I am a member of the American Association of Public Opinion Research,
   publisher of Public Opinion Quarterly and the Journal of Survey Statistics and
   Methodology, the International Trademark Association, and the National
   Advertising Division of the Council of Better Business Bureaus (NAD). I
   routinely conduct market research surveys for a variety of small to large
   corporations and organizations.


   I have frequently spoken at major intellectual property and legal conferences on
   the topic of how to design and conduct surveys that meet legal evidentiary
   standards for reliability, including conferences held by the International
   Trademark Association (INTA), American Intellectual Property Law Association,
   Practicing Law Institute, Managing Intellectual Property, Promotions Marketing
   Association, American Conference Institute, and various bar organizations.


   In addition to my survey research experience, I hold bachelor’s and master’s
   degrees in mathematics and a J.D. from Harvard Law School. Additional
   biographical material, including lists of testimony and publications, is provided
   in Appendix A.


   BRIEF OVERVIEW OF ISAACSON SURVEY


   The following is a very brief description of the Isaacson Survey. Additional
   details are discussed below and in the Isaacson Report.




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   The Isaacson Survey was an online survey among individuals age 18 or older
   who work in automotive or auto body service or repair and answered that they
   are likely to purchase certain items from a mobile tool distributor or tool truck
   within the next two years. The screening questions specifically asked about
   “Hand tools,” “Portable lights or lighting,” or “Drink or beverage tumbler,”
   among other options.


   Three specific ISN product images were tested in the survey, each product image
   being viewed on its own by a separate group of respondents. For each image,
   respondents were instructed as follows:


          “Below, you will see a picture of an item you might purchase. You may or
          may not have seen this item before.


          Take as much time as you like to look at the picture. You may need to
          scroll to see the entire picture. When you are finished viewing the picture,
          click “>” to proceed.


   No other information, images, or context were provided.


   A Test Group of 104 respondents was asked about the following image of a
   screwdriver:




                                                                              Page | 7




                                                                                       EX2-8
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    Another Test Group of 100 respondents was asked about the following image of
    a work light:




    Another Test Group of 29 respondents was asked about the following image of a
    beverage tumbler:




                                                                         Page | 8




                                                                                    EX2-9
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    Each respondent was asked three series of confusion questions:


             What company or brand makes or puts out the item in the picture
             Whether the company that makes or puts out the item in the picture
              makes or puts out any products or brands and, if so, what other
              products or brands.
             Whether whoever makes or puts out the item in the picture is
              sponsored or approved by another company or brand and, if so, what
              other company or brand.




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                                                                                   EX2-10
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    According to Dr. Isaacson’s coding of the answers, the following rates of
    confusion were found (combining all 3 items) yielding a total confusion rate of
    24.5%:


                 4.3% identified Monster Energy as the company that makes or puts out
                  the product1
                 10.3% identified Monster Energy as another product put out by the
                  same company
                 9.9% identified Monster Energy as sponsoring or approving the
                  product.


    Dr. Isaacson’s Survey also included Control Groups for each product, in which
    the term “Monster” was replaced with “Mountain” and the colors black and
    green were changed to blue and purple:




    1   The rate was 1.0% for the screw driver and 4.0% for the work light.
                                                                              Page | 10




                                                                                      EX2-11
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    No respondents identified Monster Energy in the control groups.


    Accordingly, Dr. Isaacson concludes there is a net 24.5% rate of confusion.

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    DETAILED OPINIONS REGARDING ISAACSON SURVEY


        I.    The Survey is Severely Flawed and Unreliable Because it Entirely
              Failed to Simulate Realistic Marketplace Conditions Under Which
              Prospective Customers Would Encounter the ISN Products


    It is among the most fundamentally accepted requirements for likelihood of
    confusion surveys that the survey replicate the marketplace conditions under
    which the relevant marks are encountered by prospective consumers. As
    Professor McCarthy explains, a survey’s methodology must mirror the situations
    in which consumers encounter the service or mark and should reflect
    marketplace conditions with respect to the presentation of survey stimuli.2
    Material failures to simulate realistic marketplace presentation of the marks is a
    flaw that has been frequently identified as leading to survey exclusion.3


    The Isaacson Survey failed to comport with this basic requirement in a manner
    that renders the results unreliable. As Dr. Isaacson notes, the ISN products are
    sold to auto service and repair shops through mobile tool truck distributors.4
    Prospective consumers who are offered tools through a mobile tool distributor
    would encounter a wealth of imagery, information, and overall context that
    would strongly influence their perception of the source or sponsorship of the
    products. Specifically, a typical prospective customer of ISN products bearing


    2 J. Thomas McCarthy, McCarthy on Trademarks and Unfair Competition (September 2007) at
    Section 32:163.
    3 Swann, Jerre B. (2012), “Survey Critiques,” in Trademark and Deceptive Advertising

    Surveys: Law, Science, and Design, edited by Shari Seidman Diamond and Jerre B. Swann,
    American Bar Association (pp. 374-5).
    4 Deposition of ISN (Pilkenton) pages 51-52 (noting that there are approximately 10,000

    mobile tool dealers (including approximately 1,500 independent distributors), about
    4,000 of whom purchase from ISN).
                                                                                 Page | 12




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    the accused Monster mark would be exposed to the products in a scenario that
    would heavily emphasize the automotive tool and equipment supply context,
    and would make clear that any ISN product is part of a large line of products
    from a company or brand with a heavily specialization in automotive tools.
    Prospective customers would physically see a tool truck identifying a company
    that supplies automotive tools, such as Snap-On or an independent distributor.
    They would likely see that the distributor stocks a wide variety of automotive
    tools and equipment. Those who are offered ISN products through a mobile tool
    truck would likely see a large assortment of Monster Mobile tools (including
    packaging) and may also see an assortment of tools from other automotive tool
    brands. They may also be shown catalogs or other materials showing the wide
    array of automotive tool products from the Monster Mobile brand and/or other
    brands of automotive tools. All of this would heavily emphasize the automotive
    tool context of the sales situation and make clear to anyone considering purchase
    of any ISN product that the product comes from a line of products that is heavily
    specialized and focused on automotive tools/equipment. This would have a
    strong bearing on the likelihood that such customers would connect any product
    to an energy drink company (Monster Energy), as opposed to an unrelated
    company that produces automotive tool products under its own brand (Monster
    Mobile).


    To appreciate the critical nature of the purchase environment context on the
    perception of the source or sponsorship of any ISN product, it is useful to
    consider some examples of what a prospective customer might see when
    presented with an opportunity to purchase the challenged ISN products.
    Prospective customers of ISN products sold through mobile tool trucks would
    see the trucks themselves, which contain company names and other advertising
    emphasizing the context of tools and equipment. For instance:
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    Prospective customers would also typically see a large assortment of products,5
    making abundantly clear that there is an entire line of automotive tool and
    equipment products that fall under the Monster Mobile brand. For instance,
    consider the following images from independent mobile tool truck:6




    5 Depo of ISN (Pilkenton) pages 194-195 (mobile tool trucks are typically heavily stocked
    with many products).
    6
      The two photos show the inside of tool trucks of independent dealers Ed Clayton and
    Jake Savage respectively.
                                                                                  Page | 14




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    Similarly, consider the following image of the inside of a mobile tool truck from a
    Cornwell dealer:




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    As these images make clear, an auto technician who is exposed to ISN products
    from a mobile tool truck would not merely see one isolated item in the abstract.
    They would see a large assortment of products, making clear that the products
    come from overall larger lines of specialized tool/equipment brands.


    Many prospective customers would also be shown catalogs displaying the
    assortment of products from Monster Mobile and/or other automotive tool and
    equipment brands. Consider, for instance, the following images from a Monster
    Mobile catalog:




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    Consider the following images from a Tech’s Edge catalog,7 which includes
    Monster Mobile products:




    7Deposition of ISN (Pilkenton), pages 44-47; 61-62 (ISN produces the Tech’s Edge
    catalog, which is provided to mobile tool dealers who in turn provide the catalogs to the
    end customers who purchase ISN products. Accordingly, the ultimate ISN customer is
    often exposed to these catalogs.)
                                                                                   Page | 19




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    Consider also the following webpage images advertising Monster Mobile
    products:




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    As these images make clear, any real prospective customer of ISN products,
    whether encountering the products in a mobile tool truck or in a catalog, or some
    combination, will easily understand that the products come from a large line of
    “Monster Mobile” products that are heavily focused on automotive tools and
    equipment. Given such context, prospective customers will clearly understand
    that any given ISN item, such as a screwdriver or light or tumbler, is not a
                                                                             Page | 23




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    random or isolated promotional item. Rather, it would be clear under realistic
    marketplace conditions that any ISN product is one of a wide array of products
    that includes very specialized tools and equipment including motorized
    polishers, high performance adhesives, automotive wrenches, infrared
    thermometers, large work benches/cabinets, ram kits, welding helmets, and
    countless other specialized items. This context could severely reduce the
    likelihood that a consumer would fail to realize that there is a distinct line of
    “Monster” automotive products and would make a mistaken connection to a
    company best known for energy drinks that are heavily sold in mainstream
    convenience and grocery stores.


    The Isaacson Survey, on the other hand, provided no such realistic context. It
    merely showed respondents a single item in the abstract, such as the following:




    The survey did not even instruct respondents to consider the item as they would
    if they were seeing it in connection with a mobile tool truck or distributor. In the
    absence of any attempt to set a realistic marketplace context for consideration of

                                                                                Page | 24




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    the ISN items, the survey results have no reliability in predicting whether there
    would be confusion under real world conditions. Rather, the survey simulates a
    completely unrealistic scenario, as if the product shown could be a random
    promotional item.


    Several respondents volunteered answers explicitly confirming that the survey’s
    presentation of a single item created the unrealistic and misleading impression
    that the item might merely be a random promotional item, as opposed to a
    product that is part of a specialized product line focused on automotive tools and
    equipment. For instance:


             Respondent #2952 who viewed the work light answered: “Monster
              sponsors it, it looks like a "promo item," to me.” This respondent
              further elaborated: “…recently, at a Honda shops "anniversary" party,
              I got a free 32 gig USB flash drive with the Honda logo on it.” This
              clearly confirms that this respondent was viewing the light as the type
              of promotional item that a major company might put its brand on.
             Similarly, respondent #2596 viewed the work light and answered:
              “some chinese mass production company, probably produced by
              monster drink company as advertising/promo.”
             Respondent #7258 gave the following answer about the screwdriver:
              “monster is an energy drink company looks like a promo item.”


    The impression that the product is a random promotional item is the result of the
    survey showing the product in isolation, divorced from any realistic marketplace
    context. The product would clearly not convey the impression that it is a
    random promotional item if the consumer were encountering it as one of many


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    products in a line from a mobile tool truck that is clearly focused on specialized
    automotive tools and equipment.


    It is also worth considering additional ways in which the survey failed to
    simulate realistic marketplace conditions with respect to each particular item. In
    the case of the screwdriver, the Isaacson survey showed only an image of a single
    screwdriver from a larger set with no packaging:




    Under realistic marketplace conditions, this screwdriver would be encountered
    as part of a larger tool set that includes other items and packaging. For instance,
    consider the following 9-piece set in its packaging:




                                                                              Page | 26




                                                                                         EX2-27
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    A prospective consumers’ impression of a 9-piece set designated as a “tamper
    proof torx set” might be very different than their impression of a single
    screwdriver shown with no context. Where a consumer might imagine it
    possible that a single isolated item might be produced as a promotional item,
    they would be far less likely to believe that an entire tool set clearly aimed at
    specialized technicians is the promotional product of an energy drink company.


    Consider also how the impression of a screwdriver product is impacted by its
    presentation along with many other specialized tool products, for instance as
    shown in the following catalog page:




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    As shown above, the ISN screwdriver sets are shown along with multiple other
    products, the overall commercial impression making clear that the screwdriver is
    just one of a wide array of products from a brand focused on automotive tool
    supply. A customer encountering an ISN screwdriver set sold through a mobile
    tool truck would similarly see a wider array of products, with such context
    creating a very different impression than is created by Dr. Isaacson’s display of a
    single screwdriver outside of the packaging or the overall context of a mobile
    tool truck.


    The same issues apply to the work light. The work light was shown without
    packaging and in the absence of any of the context of a mobile tool truck, such as
    the appearance of many other automotive-focused products from the same
    brand. For instance, consider the difference in commercial impression when a

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                                                                                      EX2-29
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    Monster Mobile light is encountered in a realistic context along with other
    specialized products, such as in the following catalogs:




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    Such a realistic context makes clear that the product is not a random promotional
    item but rather is from a brand that is specialized in automotive tools and
    equipment. The Isaacson Survey’s presentation of the single light with no
    packaging or other context fails to simulate realistic marketplace conditions.


    The Isaacson Survey’s presentation of the beverage tumbler suffers from an even
    more serious problem. As noted earlier, respondents were shown the following
    image of a single product:




    Showing only the beverage tumbler without any of the context of the mobile tool
    truck scenario, including the failure to show that the product is one accessory in

                                                                             Page | 30




                                                                                     EX2-31
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    a line of products that are overwhelmingly focused on auto tools and equipment,
    is unrealistic and improper. Again, consider how the commercial impression of
    a tumbler product changes when shown in a realistic manner along with other
    products from the same brand, such as in the following catalog:




    When viewed in the context of a line of products including a ratchet knife,
    wrench, jump starter, booster pack, and welding helmet, it becomes clear that the
    beverage tumbler is not an isolated promotional item, but an accessory that is
    from a brand of automotive tool and equipment products. A respondent
    purchasing the beverage tumbler from a mobile tool truck/distributor would
    typically see such other items and be clear on this context.


    Dr. Isaacson’s presentation of a single beverage tumbler outside of any context or
    information relating to automotive tools and equipment is completely artificial
                                                                            Page | 31




                                                                                      EX2-32
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    and entirely fails to test for confusion under realistic marketplace conditions. It is
    closer to a replication of a marketplace scenario where a consumer encounters a
    promotional beverage tumbler in a convenience store than where an auto repair
    professional is approached by a mobile tool distributor with a variety of
    automotive tool and equipment products and accessories. Any tendency of
    respondents to name Monster Energy in the context presented by the Isaacson
    Survey does not reliably indicate whether confusion would occur under the
    actual marketplace conditions for the sale of the ISN products.


    The realism of the beverage tumbler survey is further undermined by the fact
    that 5 of the 29 Test Group respondents actually answered that they would not
    purchase from a mobile tool truck distributor, and only qualified for the survey
    because they were asked an extra question through which they agreed that they
    would buy a beverage tumbler through any retailer. Such respondents were not
    valid prospective ISN customers and were even further removed from
    experiencing the beverage tumbler in any realistic context. Not surprisingly,
    four of these five invalid respondents were among those who identified Monster
    Energy drink.8 If these respondents were removed, the supposed “confusion”
    rate for the beverage tumbler would fall from 38% to 29%, with the 29% figure
    having an 18% error rate due to the small sample size.9




    8
        ID# 4782, 4965, 5047, 6843.
    9Removing the 5 invalid respondents would yield a total of 25 respondents, 7 of whom
    named Monster Energy (29%). At a sample size of 25, a 29% result has a margin of error
    of 18% at a 95% confidence level.
                                                                                Page | 32




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       II.    The Specific ISN Products Tested Are Not Representative of Many
              ISN Monster Mobile Products


    Even aside from the problems discussed above and below, the results for the
    products tested in the Isaacson Survey could not be reliably projected to many of
    the ISN Monster Mobile products because such products differ in significant
    ways that are relevant to the perception of source. Most notably, the Monster
    Mobile line of products includes many products that are extremely specialized
    products that would never be marketed to ordinary consumers and could never
    be mistaken as common promotional items. For instance, consider the following
    Monster Mobile products:




                                                                            Page | 33




                                                                                    EX2-34
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    Consumer reaction to the term Monster on an item such as a light or a tumbler
    cannot predict the likelihood that an auto repair or service professional would
    believe that highly specialized tools and equipment meant for automotive
    professionals come from or are sponsored by Monster Energy. As noted earlier,
    even the awareness that such specialized products are part of the Monster
                                                                            Page | 34




                                                                                      EX2-35
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    Mobile line could severely reduce the likelihood that consumers would perceive
    an item such as a light or tumbler to come from anything other than a company
    specializing in automotive tools and equipment.10


    The Isaacson Survey results would also be inapplicable to many Monster Mobile
    products that do not use the color green in a manner comparable to the items
    tested in the survey. For instance, consider the following Monster Mobile
    products:




    Unlike the light shown in the Isaacson Survey, this product is primarily black
    and grey.




    10This is empirically proven by Dr. Isaacson’s own data, which showed a higher rate of
    naming Monster Energy for a tumbler than for the light or screwdriver. The results to
    the first Isaacson question (asking what company or brand puts out the product) also
    demonstrates this phenomenon clearly – i.e., 17.2% initially named Monster Energy
    when shown the tumbler, whereas this figure dropped to 4.0% for the work light and
    further dropped to 1.0% for the screwdriver. Undoubtedly any tendency to name
    Monster Energy is severely reduced as the relevant product becomes further removed
    from an energy drink and comes closer to a specialized automotive or industrial tool.
                                                                                 Page | 35




                                                                                         EX2-36
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    Further, other Monster Mobile products come in packaging that use other colors,
    such as light blue, as shown in the following images:




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    The rate of respondents connecting a single light or beverage tumbler to Monster
    Energy would not be projectable to the likelihood that a consumer experiences
    confusion over a sander in light blue packaging.


    In sum, the results of the Isaacson Survey simply could not be applied to other
    ISN products that are materially different in the sense that they use different
    colors in packaging and/or on the product itself, or that the products are too
    heavily specialized automotive/industrial products to be comparable to the ones
    shown in the survey.


         III.   The Isaacson Control Was Not Effective to Fully Control For the
                Demand Effects Inherent to the Scenario Tested


    As noted earlier, Dr. Isaacson’s controls consisted of replacing the term
    “Monster” with the term “Mountain” and replacing the black and green colors
    with the colors blue and purple. There are multiple deficiencies with this
    approach that significantly limit its effectiveness in accounting for the type of
    survey “noise” implicit in the current situation, and which make it unsurprising
    that his control yielded a 0% noise level.11


    In considering the Isaacson control, it is important to consider the issue of
    “demand effects” in surveys. Demand effects occur where the artificial
    environment of a survey causes respondents to speculate or search for an answer
    that is primarily a response to the cues provided by the survey rather than an
    unbiased response that would occur under actual marketplace conditions when


    11In this context, “noise” consists of the tendency of respondents to identify Monster
    Energy not due to genuine confusion, but due to the influences of the artificial survey
    environment.
                                                                                   Page | 37




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    there is no “interviewer” prompting respondents to think about certain topics.12
    Demand effects are common in surveys and one of the reasons that a control is
    important, as a rigorous control can measure and weed out the impact of
    demand effects.


    There is particular reason to be concerned about demand effects in the Isaacson
    Survey due to the pattern of answers leading to the total 25.4% confusion result.
    Dr. Isaacson’s Survey provided respondents with three different opportunities to
    express confusion – first asking who makes or puts out the product, then asking
    about other products or brands from the same company, and then asking about
    sponsorship. While this is standard practice and I have no criticism of that
    approach, it is important to note that only 4.3% of respondents named Monster
    Energy in the first question when initially asked what company or brand makes
    or puts out the relevant product (combining all 3 products), and the result for the
    screwdriver product in particular was only 1.0%. Most of the supposed
    “confusion” did not occur until respondents were asked a second and third
    question – in fact, the combined rate of naming Monster Energy was only 10.6%
    and 13% for the screwdriver and light respectively until a third question was
    asked that finally led to a higher result. The concern regarding demand effects in
    such a scenario is strong. Respondents have been shown a product that says
    “Monster” and are asked repeated questions regarding its source or sponsor.
    The concern is that respondents will eventually get the idea that the survey is
    looking for an answer and will try to think about what the answer might be,
    leading them to come up with a “Monster” answer to provide that does not


    12 See Itamar Simonson and Ran Kivetz, Demand Effects in Likelihood of Confusion Surveys,
    Trademark and Deceptive Advertising Surveys: Law, Science, and Design (American
    Bar Association 2012) (Diamond & Swann, eds.); Martin T. Orne, On the Social Psychology
    of the Psychological Experiment: With Particular Reference to Demand Characteristics and Their
    Implications, 17 Am. Psychol. 776 (1962).
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    reflect any genuine confusion they had experienced on their own prior to being
    asked repeated questions.


    Such concerns are not uncommon in surveys and can be controlled for. The
    Isaacson Survey, however, did not effectively do so. Dr. Isaacson’s control does
    effectively demonstrate that respondents’ naming of Monster Energy is related to
    the term Monster and the black/green colors, as these are the factors that differ
    between Test and Control Groups. However, it does not establish that
    respondents experienced this confusion on their own while reviewing the
    product, as opposed to being cued by the survey to think about and come up
    with an answer that had not already occurred to them. It does not establish this
    due to several deficiencies that resulted in the control having no ability to assess
    the tendency of respondents to guess Monster Energy in response to superficial
    cues that would not cause confusion in the actual marketplace. For one, the
    control altered the product significantly more than was necessary to remove any
    alleged confusing similarity. For instance, once the term “Monster” had been
    replaced with “Mountain,” there should have been no need to also remove the
    black/green colors. ISN’s use of the term “Mountain” in connection with black
    and green colors does not raise any legitimate prospect of confusion with
    Monster Energy. Accordingly, it was unnecessary to remove both the Monster
    name and the colors to create a clearly non-infringing control. Had the control
    altered the term Monster but left the black and green colors, the control may
    have at least had some ability to measure the tendency to guess Monster Energy
    due to superficial similarities. On the other hand, a product using the name
    Mountain and blue/purple colors did not contain even the barest superficial
    similarity that could test the extent of guessing. Indeed, such a control product is
    so far afield that it assured that no respondents would guess Monster Energy.


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    In addition, the term “Mountain” is a poor control name, because it is
    unnecessarily far afield from the concept of “Monster.” While I understand that
    ISN also uses “Mountain,” this does not make it an effective control to account
    for the tendency to guess Monster Energy. A control that has a meaning that is
    somewhat closer to Monster – such as Mammoth or Giant or Ogre – would have
    been a more effective control to assess the tendency of the survey to cause
    respondents to guess Monster Energy.


    Most significantly perhaps, the Isaacson control did nothing to account for the
    particular circumstances of this case, which involve a term (Monster) that is used
    by a variety of third parties for various products. For instance, the brand
    “Monster” is used in connection with Monster Cable, Ducati Monster
    Motorbikes, and even numerous other tools and equipment brands. Given the
    clear co-existence of numerous uses of “Monster,” it would have been very
    valuable for the Isaacson Survey to include a control that also contained the
    word “Monster,” in order to assess the extent to which the survey’s series of
    three questions will induce respondents to come up with the answer “Monster
    Energy” even when shown a product that is not accused of being confusingly
    similar and co-exists with the Monster Energy brand. Had the survey used a
    control that is plainly non-infringing but includes the term “Monster” (such as a
    MonsterLithium tool from Snap-On or a Monster audio product) it would have
    far better controlled for the type of demand effects at issue here – i.e., that when
    shown a product with a single term on it (Monster) and asked a series of three
    questions about source/sponsorship, respondents will eventually search to come
    up with a “Monster” answer even if they had not genuinely experienced
    confusion on their own. In the absence of a control that includes a plainly non-
    infringing use of “Monster,” we have no idea whether the survey result reflects
    genuine confusion or whether any non-confusing use of “Monster” would have
                                                                               Page | 40




                                                                                           EX2-41
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    induced a similar percentage of respondents to come up with Monster Energy as
    an answer. Accordingly, we have no way to rule out the possibility that the
    initial 1% and 4% rates of naming Monster Energy for the screwdriver and light
    are more accurate reflections of the confusion level,13 and that the overall higher
    results are merely the product of the inherent demand effects of a survey.


         IV.   The Survey was Biased Due to the Survey’s Suggestive Mention of
               the term “Beverage” or “Drink” in the Screener


    The purpose of the survey was to test the extent to which respondents who
    encounter the ISN products make a mistaken connection to Monster Energy,
    which is primarily known as a drink or beverage company. To perform this
    purpose properly, the survey needed to show and ask about the ISN products
    under realistic marketplace conditions without bias. The realism and objectivity
    of the Isaacson Survey, however, was undermined by a problem in the screening
    process that injected bias into the survey. The key screening question (F) asking
    which items respondents would purchase included a list of tools and automotive
    products along with the choice “drink or beverage tumbler.” This both puts the
    idea of drinks/beverages in respondents’ minds immediately before being asked
    about the ISN products, and it draws a connection between tools and a
    drink/beverage product. The next screening question (G) also mentioned a
    manufacturer or distributor of “drinkware.” Accordingly, the survey twice
    mentioned the term “drink” or “beverage” shortly before showing the ISN
    product and asking questions to see if respondents would name Monster Energy



    13
      As already discussed, Dr. Isaacson’s survey is so flawed due to the failure to simulate
    realistic marketplace conditions for the sale of the Monster Mobile products that even
    the 1% and 4% rates of naming Monster Energy for the screwdriver and light are
    unreliable.
                                                                                   Page | 41




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    or a drink/beverage company. This is particularly problematic in the case of the
    screwdriver and light, as there is no justification for the concept of “drink” or
    “beverage” to be put in respondents’ minds immediately before being asked
    about a work tool. Even in the case of the tumbler, the mention of a
    “manufacturer or distributor of drinkware” is improperly suggestive and
    misleading, as this is not an accurate characterization of ISN, and improperly
    plants the idea of a company whose main business relates to drinks. The
    multiple mentions of “drink” and “beverage” in the screener artificially primed
    respondents to be more likely to think of a drink or beverage company when
    thereafter shown the ISN product. This further undermines the survey’s ability
    to reliably predict the extent to which real consumers would have made a
    mistaken mental connection to Monster Energy under realistic marketplace
    conditions.




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         V.    The Survey Failed to Collect Data to Determine Whether a
               Representative Sample Was Drawn


    The survey is also unreliable due to the failure to collect data sufficient to
    determine whether a representative sample of relevant consumers was surveyed.
    It is standard practice to collect information regarding the age of respondents to
    ensure that the sample is representative of the consumer base by age, or at least
    to allow the results to be weighted based on the demographics of the relevant
    base. Here, however, Dr. Isaacson only asked if respondents were age 18 or
    older, and did not ask for a more specific age range into which they fall. This is a
    severe departure from standard practice and means that we have no idea to what
    extent the survey sample fails to represent the relevant base of auto repair or
    service professionals.14


    There is obvious reason to be concerned over the representativeness of the
    population sampled by age. Monster Energy’s products and marks may be
    better known by some age groups and more poorly known by others. If the
    survey sample was skewed toward an age group that is the core of Monster
    Energy’s customer base, the result would not accurately reflect the perceptions of
    the relevant base of customers of ISN products. Given the absence of any data on
    the specific age ranges of respondents in the survey, there is no way to validate
    that the sample is representative or that the results can be projected to the actual
    universe of purchasers.




    14Having seen many of Dr. Isaacson’s surveys in previous trademark cases, I can also
    confirm that the failure to ask for a specific age range is also a departure from Dr.
    Isaacson’s own practices. There is no explanation for why such standard age data
    would not be collected.
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       VI.    The Sample Size For the Beverage Tumbler Survey Was Very Small
              and Entails a High Error Rate


    While Dr. Isaacson reports what appears to be a significantly higher rate of
    “confusion” for the beverage tumbler (37.9%), it is important to note that this
    figure comes from a sample of only 29 respondents. This result at a sample size
    of 29 has a very high error rate of 18%, which severely calls into question the
    accuracy and reliability of the 37.9% figure. As noted earlier, if the 5 invalid
    respondents are removed – i.e., those who did not indicate that they would
    purchase from a mobile tool dealer – the result would be 29% with a margin of
    error of 18%.




    CONCLUSIONS


    For the foregoing reasons, it is my opinion that the Isaacson survey is too flawed
    to have any value or reliability on the topic of likelihood of confusion.




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                           APPENDIX A




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 Hal L. Poret (hal.inc42@gmail.com; 914-772-5087)

 Education
 1998          Harvard Law School, J.D., cum laude
                Editor/Writer – Harvard Law Record
                Research Assistant to Professor Martha Minow
 1995          S.U.N.Y. Albany, M.A. in Mathematics, summa cum laude
                Statistics
                Taught calculus/precalculus/statistics
 1993          Union College, B.S. in Mathematics with honors, magna cum laude
                Phi Beta Kappa
                Resch Award for Achievement in Mathematical Research


 Employment
 2016 -        President, Hal Poret LLC
                Design, supervise, and analyze consumer surveys, including
                  Trademark, Trade Dress, Advertising Perception, Consumer
                  Deception, Claims Substantiation studies, Damages, and Corporate
                  Market Research Surveys
                Consulting regarding survey design and review of other surveys
                Provided expert testimony at deposition and/or trial regarding survey
                  research in over 100 U.S. District Court litigations and proceedings in
                  front of TTAB, NAD, FTC and FCC.

 2004 - 2015 Senior Vice President, ORC International
              Designed, supervised, and analyzed consumer surveys in legal and
                corporate market research areas, and provided expert testimony
                regarding survey research in legal cases.

 2003 – 2004   Internet Sports Advantage
                Developed and marketed proprietary internet sports product, and
                   licensed trademark and intellectual property rights.

 1998 – 2003 Attorney, Foley Hoag & Eliot, Boston, MA
              Represented corporations and individuals in trademark, trade dress,
                advertising, product, and related legal disputes.
              Worked with survey experts in developing and using surveys as
                evidence in trademark, trade dress and advertising disputes.




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 Testimony at Trial or by Deposition Past 4 Years

 (Party who retained me shown in bold)

 2018 Bratton v. The Hershey Company
      (Deposition)                             USDC Central District of MO

 2018   Leadership Studies v. Blanchard Training & Development
        (Deposition)                           USDC Southern District of CA

 2017 Superior Consulting v. Shaklee
      (Deposition)                             USDC Middle District of FL

 2017   Mercado Latino v. Indio
        (Deposition)                           USDC Central District of CA

 2017 Delalat v. Nutiva
      (Deposition)                             USDC Northern District of CA

 2017   Dashaw v. New Balance
        (Deposition)                           USDC Southern District of CA

 2017   Bearing Tech v. O’Reilly Automotive
        (Deposition)                           USDC Western District of MO

 2017   Soundview v. Facebook
        (Deposition)                           USDC District of Delaware

 2017   Rovi v. Comcast
        (Deposition)                           USDC Southern District of NY

 2017   Puma v. Black & Decker
        (Trial)                                New Mexico Circuit Court

 2017   Select Comfort v. Personal Comfort
        (Trial and Deposition)                 USDC District of Minn

 2017   Alzheimer’s Foundation of America v. Alzheimer’s Association
        (Deposition and trial)               USDC Southern District of NY

 2017   Banc of California v. Farmers & Merchants Bank
        (Deposition)                          USDC Central District of CA




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 2017 PolyGroup v. Willis Electric
      (Deposition)                               Patent Trial and Appeal Board

 2017   In re: NCAA Grant-in-Aid Cap Litigation
        (Deposition)                          USDC Northern District of CA

 2017 Mullins v. Premier Nutrition            USDC Northern District of CA
      (Depositions in Class Cert and Merits phases)

 2017   Lion’s Gate v. TD Ameritrade
        (Deposition)                             USDC Central District of CA

 2017   Deere & Company v. Fimco dba Schaben
        (Deposition and trial)             USDC Western District of KY

 2017   Adidas & Reebok v. TRB
        (Deposition)                             USDC District of Oregon

 2017   Church & Dwight v. SPD                    USDC Southern District of NY
        (Deposition/trial in liability phase; deposition/trial in damages phase)

 2017 In re: Coca Cola Marketing and Sales Practices Litigation (No. II)
      (Deposition)                            USDC Northern District of CA

 2017   Ducks Unlimited v. Boondux LLC and Caleb Sutton
        (Deposition and Trial)              USDC Western District of TN

 2017   Globefill v. Element Spirits
        (Deposition and Trial)                   USDC Central District of CA

 2017 Brickman v. Fitbit
      (Deposition)                               USDC Northern District of CA

 2017   Network-1 Technologies v. Alcatel-Lucent et al.
        (Deposition)                          USDC Eastern District of TX

 2017   Health Partner Plans v. Reading Health Partners
        (Deposition and Injunction hearing)    USDC Eastern District of PA

 2017 In Re Biogen ‘755 Patent Litigation
      (Deposition)                               USDC District of NJ

 2017   Cava Mezze v. Mezze Mediterranean Grill




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        (Trial)                                  USDC District of MD

 2017   Mastrandrea v. Vizio
        (Deposition)                             USDC Central District of CA

 2017   Adidas v. Skechers
        (Deposition and Injunction hearing)      USDC District of OR

 2016   Triumph International, Inc. v. Gourmetgiftbaskets.com, Inc.
        (Deposition)                          USDC Central District of CA

 2016 Phelan Holdings v. Rare Hospitality Management
      (Deposition)                          USDC Middle District of FL

 2016   Intellectual Ventures II v. AT&T Mobility
        (Deposition)                           USDC District of DE

 2016   One World Foods v. Stubbs Austin Restaurant Company
        (Deposition)                         USDC Western District of TX

 2016   Booking.com B.V. v. Michelle Lee
        (Deposition)                             USDC Eastern District of VA

 2016   Variety Stores v. Walmart Stores, Inc.
        (Trial)                                  USDC Eastern District of NC

 2016   American Cruise Lines v. American Queen Steamboat Company
        (Deposition)                         USDC District of DE

 2016   Universal Church v. Univ. Life Church
        (Deposition)                          USDC Southern District of NY

 2016   U. of Houston v. Houston Col. of Law
        (Deposition)                             USDC Southern District of TX

 2016 Navajo Nation v. Urban Outfitters
      (Daubert Hearing)                          USDC District of NM

 2016   Beaulieu v. Mohawk Carpet Dist.
        (Deposition)                             USDC Northern District of GA

 2016 Efficient Frontiers v. Reserve Media
      (Deposition)                               USDC Central District of CA




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 2016   McAirlaids v. Medline Industries
        (Deposition)                         USDC Eastern District of VA

 2016   Under Armour v. Ass Armor
        (Deposition)                         USDC Southern District of FL

 2016   C5 & CoorsTek v. CeramTec
        (Deposition and trial)               USDC District of Colorado

 2016   BBC v. Stander
        (Deposition)                         USDC Central District of CA

 2016   Caterpillar v. Tigercat
        (Deposition)                         USPTO Opposition

 2016   Premier v. Dish Network
        (Deposition)                         USPTO Opposition

 2016   Omaha Steaks v. Greater Omaha
        (Rebuttal Testimony)                 USPTO Opposition

 2016   EMC v. Pure Storage
        (Deposition)                         USDC District of MA

 2016   Top Tobacco v. North Atlantic
        (Deposition)                         USPTO Opposition

 2016 Ascension Health v. Ascension Ins.
      (Deposition)                           USDC Eastern District of MO

 2016   Quoc Viet v. VV Foods
        (Deposition and trial)               USDC Central District of CA

 2016   Joules v. Macy’s Merchandising Group
        (Deposition and trial)               USDC Southern District of NY

 2015   MMG v. Heimerl & Lammers
        (Deposition and trial)               USDC District of MN

 2015   PRL USA v. Rolex
        (Deposition)                         USDC Southern District of NY




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 2015 Bison Designs v. Lejon
      (Deposition)                          USDC District of CO

 2015   Barrera v. Pharmavite
        (Deposition)                        USDC Central District of CA

 2015   Flowers v. Bimbo Bakeries
        (Deposition)                        USDC Middle District of GA

 2015 Razor USA v. Vizio
      (Deposition)                          USDC Central District of CA

 2015 Allen v. Simalasan
      (Deposition)                          USDC Southern District of CA

 2015   BMG Rights Mgmt. v. Cox Enterprises
        (Deposition and trial)              USDC Eastern District of VA

 2015 Verisign v. XYZ.COM LLC
      (Deposition)                          USDC Eastern District of VA

 2015   Farmer Boys v. Farm Burger
        (Deposition)                        USDC Central District of CA

 2015 Ono v. Head Racquet Sports
      (Deposition)                          USDC Central District of CA

 2015   Select Comfort v. Tempur Sealy
        (Deposition)                        USDC District of Minn

 2015 ExxonMobil v. FX Networks
      (Deposition)                          USDC Southern District of TX

 2015   Delta v. Network Associates
        (Deposition)                        USDC Middle District of FL

 2015 Brady v. Grendene
      (Deposition)                          USDC Central District of CA

 2015   Zippo v. LOEC
        (Deposition)                        USDC Central District of CA




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 2015 Maier v. ASOS
      (Deposition)                               USDC District of Maryland

 2015   Converse In re: Certain Footwear
        (Deposition and trial)                   International Trade Commission

 2014 Scholz v. Goudreau
      (Deposition)                               USDC District of Mass

 2014   Economy Rent-A-Car v. Economy Car Rentals
        (TTAB Testimony)                   USPTO

 2014   Weber v. Sears
        (Deposition)                             USDC Northern District of IL

 2014   Native American Arts v. Stone
        (Deposition)                             USDC Northern District of IL

 2014   Gravity Defyer v. Under Armour
        (Trial)                                  USDC Central District of CA

 2014   Adams v. Target Corporation
        (Deposition)                             USDC Central District of CA

 2014   PODS v. UHAUL
        (Deposition and trial)                   USDC Middle District of FL

 2014   Flushing v. Green Dot Bank
        (Deposition)                             USDC Southern District of NY

 2014   Amy’s Ice Creams v. Amy’s Kitchen
        (Deposition)                             USDC Western District of TX

 2014   Unity Health v. UnityPoint
        (Deposition)                             USDC Western District of WI

 2014   In re: NCAA Student-athlete litigation
        (Deposition and Trial)                   USDC Northern District of CA

 2014   Spiraledge v. SeaWorld
        (Deposition)                             USDC Southern District of CA

 2014   Diageo N.A. v. Mexcor




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        (Deposition and trial)                USDC Southern District of TX

 2014   Pam Lab v. Virtus Pharmaceutical
        (Deposition and trial)                USDC Southern District of FL

 2014   US Soccer Federation v. Players Ass’n
        (Arbitration Testimony)               Arbitration

 2014   Estate of Marilyn Monroe v. AVELA
        (Deposition)                          USDC Southern District of NY

 2014 Kelly-Brown v. Winfrey, et al.
      (Deposition)                            USDC Southern District of NY

 2014 Virco Mfg v. Hertz & Academia
      (Deposition)                            USDC Central District of CA

 2014 In re: Hulu Privacy Litigation
      (Deposition)                            USDC Northern District of CA

 2013   Jackson Family Wines v. Diageo        USDC Northern District of CA
        (Deposition)

 2013   Bubbles, Inc. v. Sibu, LLC.           USDC Eastern District of VA
        (Deposition)

 2013 Clorox v. Industrias Dalen              USDC Northern District of CA
      (Deposition)

 2013   Active Ride Shop v. Old Navy          USDC Central District of CA
        (Deposition and trial)

 2013   Macy’s Inc. v. Strategic Marks LLC.   Northern District of CA
        (Deposition)

 2013 Karoun Dairies, Inc. v. Karoun Dairies, Inc.   Southern District of CA
      (Deposition)

 2013   Kraft Foods v. Cracker Barrel Old Country    Northern District of IL
        (Deposition and Trial)

 2013   Bayer Healthcare v. Sergeants Pet Care USDC Southern District of NY
        (Deposition and Trial)




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 2013 JJI International v. The Bazar Group, Inc.        USDC District of RI
      (Deposition)

 2013   Fage Dairy USA v. General Mills        Northern District of NY
        (Deposition)

 2013 Gameshow Network v. Cablevision          F.C.C.
      (Deposition and trial)

 2013 Telebrands v. Meyer Marketing            USDC Eastern District of CA
      (Deposition)



 Presentations

 What's New in Advertising Law, Claim Support and Self-Regulation?
 (ABA Seminar, November 17, 2015)

 How Reliable is Your Online Survey
 (2015 ASRC Annual Conference, September 29, 2015)

 What Do Consumers Think? Using Online Surveys to Demonstrate Implied Claims
 (ANA Advertising Law and Public Policy Conference, April 1, 2015)

 Cutting Edge Developments in Trademark Surveys (Rocky Mountain Intellectual
 Property & Technology Institute, May 30, 2013)

 Using Survey Experts in Trademark Litigation (DRI Intellectual Property Seminar, May
 9, 2013)

 Surveys in Trademark and Advertising Litigation (2013 National CLE Conference,
 Snowmass Colorado, January 2013)

 Internet Survey Issues (PLI Hot Topics in Advertising Law Conference, March 2012)

 Measuring Consumer Confusion Through Online Surveys (2011 Midwest IP Institute)
 (September, 2011)

 Online Surveys as Evidence in Trademark Disputes (International Trademark
 Association Annual Conference, May 2011)




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 Managing Intellectual Property Trademark Roundtable (April 7, 2010)

 Recent Trends in Trademark Surveys (Virginia State Bar Intellectual Property
 Conference, October 2009)

 Trademark Surveys in US Litigation (presentation for International Trademark
 Association Annual Conference) (May 2009)

 How to Conduct Surveys for use in Trademark Disputes (Practicing Law Institute
 Advanced Trademark Law Conference) (May 2009)

 Trademark and Advertising Perception Studies for Legal Disputes (Opinion Research
 Corporation Seminar, June 2008)

 Understanding Advertising Perception Surveys (Promotions Marketing Association
 Annual Law Conference) (November 2007)

 Designing and Implementing Studies to Substantiate Advertising Claims (American
 Conference Institute Claims Substantiation Conference, October 2007)

 Surveys in Trademark and False Advertising Disputes (InfoUSA Webinar, June 2007)

 Measuring Consumer Perception in False Advertising and Trademark Cases, (multiple
 presentations) (2007)

 Potential Errors to Avoid In Designing a Trademark Dilution Survey (American
 Intellectual Property Association paper, April 2007)

 Consumer Surveys in Trademark and Advertising Cases (presentation at Promotions
 Marketing Association Annual Law Conference) (December 2006)

 Use of Survey Research and Expert Testimony in Trademark Litigation, (International
 Trademark Association Annual Conference, May 2006)

 Survey Research as Evidence in Trademark/Trade Dress Disputes (multiple
 presentations) (2006)

 Using Surveys to Measure Secondary Meaning of Trade Dress, Legal Education
 Seminar, Boston, April 2006


 Publications/Papers




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 Cutting Edge Developments in Trademark Surveys (Rocky Mountain Intellectual
 Property & Technology Institute, May 2013)

 Hot Topics and Recent Developments in Trademark Surveys (paper for May 2013 DRI
 Intellectual Property Conference)

 Surveys in Trademark and Advertising Litigation (2013 National CLE Conference,
 Snowmass Colorado, January 2013)

 Trademark Litigation Online Consumer Surveys (Practical Law Company Intellectual
 Property and Technology, May 2012)

 Hot Topics in Advertising Law 2012 (Contributor to Practising Law Institute
 publication)

 A Comparative Empirical Analysis of Online Versus Mall and Phone Methodologies for
 Trademark Surveys, 100 TMR 756 (May-June 2010)

 Recent Trends in Trademark Surveys (paper for Virginia State Bar Intellectual Property
 conference, October 2009)

 Trademark Dilution Revision Act breathes new life into dilution surveys (In Brief PLI
 website, June 2009)

 The Mark (Survey Newsletter; three editions 2009)

 Hot Topics in Trademark Surveys (paper for Practicing Law Institute Advanced
 Trademark Law Conference) (May 2009)

 The Mark (Survey Newsletter, 2008)

 Trademark and Advertising Survey Report (Summer 2007)

 Avoiding Pitfalls in Dilution Surveys under TDRA (AIPLA Spring Conference, Boston,
 May 2007)


 Commentary

 Comment on Hotels.com case (on TTABLOG.COM, July 24, 2009)

 Comment on Nextel v. Motorola (on TTABLOG.COM, June 19, 2009)




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 PLI All-Star Briefing Newsletter, “What does the Trademark Dilution Revision Act
 mean for the future of Dilution Surveys?” (June 2009)




 Professional Memberships/Affiliations

 American Association of Public Opinion Research

 International Trademark Association

 National Advertising Division of Council of Better Business Bureaus




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